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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

KYLE JUSTICE and ANNALEAH                   )
JUSTICE,                                    )
                                            )
       Plaintiffs,                          )
                                            )
  v.                                        )        No. 4:22-cv-00050-AGF
                                            )
BESTWAY (USA), INC., and RURAL              )
KING HOLDINGS, LLP,                         )
                                            )
       Defendants,                          )
                                            )
and                                         )
                                            )
BESTWAY (USA), INC.,                        )
                                            )
       Third-Party Plaintiff,               )
                                            )
  v.                                        )
                                            )
MARY FLAKE and PATRICK FLAKE,               )
                                            )
       Third-Party Defendants,              )
                                            )
and                                         )
                                            )
RURAL KING HOLDINGS, LLP,                   )
                                            )
       Cross Claimant,                      )
                                            )
  v.                                        )
                                            )
MARY FLAKE and PATRICK FLAKE,               )
                                            )
       Cross Defendants,                    )
                                            )
and                                         )
                                            )
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RURAL KING HOLDINGS, LLP,                    )
                                             )
        Third-Party Plaintiff,               )
                                             )
   v.                                        )
                                             )
BESTWAY (HONG KONG)                          )
INTERNATIONAL LIMITED and                    )
BESTWAY INFLATABLES &                        )
MATERIALS CORPORATION,                       )
                                             )
        Third-Party Defendants.              )

                             MEMORANDUM AND ORDER

        This matter is before the Court on Defendant Bestway (USA), Inc.’s motions to

exclude the expert reports, testimony, and opinions of (1) Dianna Sullivan (ECF No. 115,

the “Sullivan Motion”); (2) Peggy Shibata (ECF No. 116, the “Shibata Motion”); and (3)

Dr. John Fletemeyer, PhD (ECF No. 117, the “Fletemeyer Motion”), all of whom were

designated as experts by the Plaintiffs. The motions are fully briefed and ripe for

disposition. For the reasons set forth below, the Court will deny the Sullivan Motion and

grant in part and deny in part the Shibata Motion and the Fletemeyer Motion.

                                     Case Background

        This case involves claims raised by Plaintiffs Kyle and Annaleah Justice against

Defendants Bestway USA and Rural King Holdings, Inc. under the Missouri Wrongful

Death Statute, Mo. Rev. Stat. § 537.080. Plaintiffs’ claims arose from the drowning

death of their minor daughter, E.M.J., in an above-ground pool on August 3, 2019.

Plaintiffs raised five claims against Bestway USA: Count I – Strict Liability Design

Defect; Count II – Strict Liability Failure to Warn; Count III – Negligence (under


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theories of both negligent design and negligent failure to warn); Count IV – Breach of

Express Warranty; and Count V – Breach of Implied Warranty. ECF No. 5.

       On July 26, 2024, Bestway USA filed its motion for summary judgment. ECF No.

128. Bestway USA sought summary judgment in its favor as to all of Plaintiffs’ claims

raised against it. On October 22, 2024, the Court issued its Memorandum and Order on

Bestway USA’s motion for summary judgment, granting summary judgment in Bestway

USA’s favor as to Counts III, IV, and V. ECF No. 157. The Court also found that

Plaintiffs were unable to carry their burden to establish that they were entitled to punitive

damages and precluded Plaintiffs from seeking punitive damages against Bestway USA

at trial. Therefore, the only issues that remain for trial between Plaintiffs and Bestway

USA are those raised under Plaintiffs’ theories of strict liability design defect under

Count I and strict liability failure to warn under Count II.

       Plaintiffs designated Ms. Sullivan as an expert regard the impact of the death on

Plaintiffs’ mental health; Ms. Shibata as an expert regarding the pool’s safety and design;

and Dr. Fletemeyer as an expert in aquatics. On May 31, 2024, Bestway USA filed the

Sullivan Motion (ECF No. 115), the Shibata Motion (ECF No. 116), and the Fletemeyer

Motion (ECF No. 117). Plaintiffs filed their responses (ECF Nos. 134, 137, and 136),

and Bestway USA filed its replies (ECF Nos. 142, 144, and 143).

                                      Legal Standard

       The admission of expert testimony in this Court is governed by Federal Rule of

Evidence 702, which provides that:



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       A witness who is qualified as an expert by knowledge, skill, experience,
       training, or education may testify in the form of an opinion or otherwise if
       the proponent demonstrates to the court that it is more likely than not that:

              (a) the expert’s scientific, technical, or other specialized knowledge
              will help the trier of fact to understand the evidence or to determine a
              fact in issue;

              (b) the testimony is based on sufficient facts or data;

              (c) the testimony is the product of reliable principles and methods;
              and

              (d) the expert’s opinion reflects a reliable application of the principles
              and methods to the facts of the case.

       The rule was amended in 2000 in response to Daubert v. Merrell Dow

Pharmaceuticals, Inc., which charged trial judges with a “gatekeeping” role to screen

expert testimony for relevance and reliability. 509 U.S. 579, 590–93 (1993); see also

Russell v. Whirlpool Corp., 702 F.3d 450, 456 (8th Cir. 2012). “To satisfy the relevance

requirement, the proponent must show that the expert’s reasoning or methodology was

applied properly to the facts at issue.” Barrett v. Rhodia, Inc., 606 F.3d 975, 980 (8th

Cir. 2010) (citation omitted). “To satisfy the reliability requirement, the party offering

the expert testimony ‘must show by a preponderance of the evidence both that the expert

is qualified to render the opinion and that the methodology underlying his conclusions is

scientifically valid.’” Id. (quoting Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 757

(8th Cir. 2006)); see also In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d Cir.

1994) (“[A]n expert’s testimony is admissible so long as the process or technique the

expert used in formulating the opinion is reliable.”) (citing Daubert, 509 U.S. at 589).




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       In the most recent amendment to Rule 702, made effective on December 1, 2023, 1

the advisory committee’s note clarifies the Court’s initial gatekeeping function and

emphasizes that proponents of expert testimony must establish admissibility of the

proffered evidence by a preponderance of the evidence. Fed. R. Evid. 702 advisory

committee’s note to 2023 amendment; see also Word v. Mine Safety Appliances Co., No.

5:14-CV-00445-BRW, 2016 WL 3034045, at *2 (E.D. Ark. Mar. 25, 2016) (stating

“[w]hen a party proffers an expert witness, deciding whether Rule 702 is satisfied is a

preliminary issue governed by Federal Rule of Evidence 104(a)[, which] requires the

proponent of evidence to establish its admissibility by a preponderance of the

evidence.”); United States v. Martinez, 3 F.3d 1191, 1196 (8th Cir. 1993) (“Before

admitting scientific expert testimony, the court must conclude, pursuant to Federal Rule

of Evidence 104(a) that the proposed testimony constitutes (1) scientific knowledge that

(2) will assist the trier of fact to understand or determine a fact in issue.”) (citing

Daubert, 509 U.S. at 592) (footnote omitted). “The preponderance standard ensures that

before admitting evidence, the court will have found it more likely than not that the

technical issues and policy concerns addressed by the Federal Rules of Evidence have

been afforded due consideration.” Bourjaily v. United States, 483 U.S. 171, 175 (1987).

The advisory committee’s note also states that “many courts have held that the critical



1
       The advisory committee’s note clarifies that this amendment does not impose any
new, specific procedures, but instead “is simply intended to clarify that Rule 104(a)’s
requirement applies to expert opinions under Rule 702.” Fed. R. Evid. 702 advisory
committee’s note to 2023 amendment.

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questions of the sufficiency of an expert’s basis, and the application of the expert’s

methodology, are questions of weight and not admissibility. These rulings are an

incorrect application of Rules 702 and 104(a).” Fed. R. Evid. 702 advisory committee’s

note to 2023 amendment.

       “The inquiry envisioned by Rule 702 is a flexible one,” designed to exclude

“vague theorizing based on general principles” or “unsupported speculation,” but not

requiring an opinion to be “a scientific absolute in order to be admissible.” Adams v.

Toyota Motor Corp., 867 F.3d 903, 914–16 (8th Cir. 2017) (cleaned up); see also Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 141–42 (1999) (“[T]he test of reliability is

‘flexible,’ and Daubert’s list of specific factors neither necessarily nor exclusively

applies to all experts or in every case. Rather, the law grants a district court the same

broad latitude when it decides how to determine reliability as it enjoys in respect to its

ultimate reliability opinion.”); Unrein v. Timesavers, Inc., 394 F.3d 1008, 1011 (8th Cir.

2005) (stating that the “evidentiary inquiry is meant to be flexible and fact specific, and a

court should use, adapt, or reject Daubert factors as the particular case demands.”)

(citation omitted). Further, Rule 702(d) has been amended to emphasize that the

reliability analysis applies to each opinion offered. Fed. R. Evid. 702 advisory

committee’s note to 2023 amendment.




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                                         Discussion

The Sullivan Motion

       A.     Background

       Bestway USA has moved to exclude the expert report, testimony, and opinions of

Plaintiffs’ expert Diana Sullivan. Ms. Sullivan, a Licensed Mental Health Counselor

(“LMHC”), conducted phone interviews with Plaintiffs Kyle and Annaleah Justice “to

evaluate the psychological process and circumstances that will help [her] understand the

duration[,] severity and of [sic] symptoms (if any), to arrive at a diagnosis (if any), and to

provide an expert opinion about the grief and bereavement process experienced by the

family of the deceased . . . .” ECF No. 115-1 at 1. Ms. Sullivan is prepared to testify to

the following:

       It is my opinion, to a reasonable degree of certainty in my field, that Mr.
       Justice currently suffers from the following:

              1.     Post traumatic stress syndrome (“PTSD”);
              2.     Major depressive disorder (“MDD”); and
              3.     Complicated grief and bereavement syndrome.

       It is my opinion that Mr. Justice’s PTSD, MDD, and complicated grief and
       bereavement syndrome were, and are, caused by the sudden and tragic death
       of his daughter.

       It is my opinion, to a reasonable degree of certainty in my field, that Mrs.
       Justice currently suffers from the following:

              1.     Post-traumatic stress syndrome (“PTSD”);
              2.     Major depressive disorder (“MDD”);
              3.     Complicated grief and bereavement syndrome; and
              4.     Anxiety




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       It is my opinion that Mrs. Justice’s PTSD, MDD, complicated grief and
       bereavement syndrome, and her anxiety were, and are, caused by the sudden
       and tragic death of her daughter.

Id. at 15. It also appears that Ms. Sullivan intends to testify that Plaintiffs’ minor son,

who is not a party to this action, “is also experiencing grief . . . .” Id. at 28.

       Bestway USA challenges the admissibility of Ms. Sullivan’s opinions on two

grounds. First, Bestway USA argues that Ms. Sullivan’s opinions are not the result of

reliable principles or methods. Bestway USA supports this argument by pointing to

testimony from Ms. Sullivan that (1) she did not perform any formal diagnostic tests on

Plaintiffs before arriving at her conclusions; (2) she failed to review Plaintiffs’ medical

history or medical records; (3) she spoke with Plaintiffs over the phone for about two

hours each and never spoke to Plaintiffs’ minor son; (4) she did not arrive at her

conclusions through the use of a differential diagnosis; (5) she arrived at her conclusion

through inference; and (6) she only included information in her report regarding the

application of the Diagnostic and Statistical Manual, Fifth Edition (“DSM-5”) to

Plaintiffs’ symptoms after Plaintiffs’ attorney requested that she do so. For these reasons,

Bestway USA argues that Ms. Sullivan’s opinions were not arrived at through a reliable

methodology or through application of that methodology to sufficient facts or data.

       Second, Bestway USA argues that Ms. Sullivan’s opinions should be excluded

because they would not be helpful to the jury. In particular, Bestway USA asserts that

Ms. Sullivan’s testimony is about Plaintiffs’ grief and bereavement, a form of damages

that is specifically precluded under Missouri’s wrongful death statute, Mo. Rev. Stat.

§ 537.090. Bestway USA reasons that because damages for grief and bereavement are

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not permitted under Missouri law, Ms. Sullivan’s testimony regarding the grief and

bereavement suffered by Plaintiffs as a result of their daughter’s death is irrelevant.

       Plaintiffs oppose the Sullivan Motion. Plaintiffs assert that Bestway USA’s

reliance on its “laundry list of things [Ms.] Sullivan did not do when forming her

opinions” should carry no weight because, contrary to what Bestway USA believes, Ms.

Sullivan arrived at her opinions through the use of a reliable methodology applied to

sufficient facts and data. ECF No. 134 at 5. Plaintiffs reject the suggestion that Ms.

Sullivan was required to use formal testing or in-person assessments to arrive at her

diagnoses. Plaintiffs state that Bestway USA has not come forward with evidence that

LMHCs are required to conduct the kind of formal testing and in-person assessment that

Bestway USA says are part of a proper methodology in Ms. Sullivan’s field. Plaintiffs

point out that Ms. Sullivan used a differential diagnosis, contrary to Bestway USA’s

assertion that she did not, and based her opinions and diagnoses on her interviews with

Plaintiffs just as she would in her everyday counseling practice. As to Ms. Sullivan’s

inclusion of the DSM-5 analysis only at Plaintiffs’ attorney’s request, Plaintiffs argue that

whatever was not included in a previous version of Ms. Sullivan’s report is irrelevant

because the report now includes that analysis and the analysis will be helpful to the jury.

Plaintiffs also reject the contention that Ms. Sullivan’s conclusions should be excluded

for failing to review Plaintiffs’ previous medical records because Plaintiffs have no

previous mental health records for Ms. Sullivan to review. Plaintiffs have also clarified

that Ms. Sullivan has no intention of testifying about the grief experienced by Plaintiffs’

minor son.

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       Plaintiffs further contend that Ms. Sullivan’s testimony will be helpful to a jury

because the testimony regarding the Plaintiffs’ PTSD, depression, and anxiety “are

different from grief and bereavement.” ECF No. 134 at 9. Plaintiffs argue that in Rugh

v. FedEx Freight, Inc., 4:20-cv-1566-JAR, 2022 WL 17039153 (E.D. Mo. Nov. 17, 2022)

this Court permitted similar diagnostic testimony in a wrongful death case because such

testimony helps the jury determine “the effect of the injury on the parent-child

relationship” which “may be important in establishing the nature and extent of the

plaintiff’s loss.” ECF No. 134 at 9 (quoting Rugh, 2022 WL 17039153 at *3).

       In its reply, Bestway USA reiterates much of what it argues in its motion.

Bestway USA cites to the American Counseling Association Code of Ethics, stating that

the code “places implicit emphasis on the reliability and validity of standardized,

quantitative assessment instruments, or tests.” ECF No. 142 at 2. Bestway USA does not

explain how the “implicit emphasis” within the ACA ethical standards undermines Ms.

Sullivan’s methodology here. Bestway USA also points to Ms. Sullivan’s testimony that

she did not “do any differential for alternative causes of [Plaintiffs’] symptoms.” Id. at 3

(citing 142-1 at 115:18-24). Bestway USA implies that Ms. Sullivan should not have

taken Plaintiffs’ statements at face value and that her use of the DSM-5 was simply a

post-hoc rationalization of her findings. Bestway USA then attempts to distinguish the

facts of Rugh with Ms. Sullivan’s testimony in this case and specifically points to the

statement in Ms. Sullivan’s report where she avers that she was hired to assess the effects

of Plaintiffs’ grief and bereavement caused by E.M.J.’s death. For these reasons and for



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those expressed in its memorandum of law, Bestway USA request that the Court exclude

Ms. Sullivan’s testimony in its entirety.

       B.     Analysis

       The preponderance of the evidence indicates that Ms. Sullivan’s testimony is

admissible. Despite Bestway USA’s arguments to the contrary, the Court finds that Ms.

Sullivan arrived at her conclusions using a reliable methodology and based her opinions

on sufficient facts and data. Ms. Sullivan, as a LMHC, has over thirty-five (35) years of

experience in the field of mental health counseling, and she applied that extensive

experience when evaluating Plaintiffs. In arriving at her opinions regarding Plaintiffs,

Ms. Sullivan “followed the same procedures that [she] use[s] in [her] practice when

conducting an intake” and she specifically followed the “Shea (1998) protocol.” ECF

No. 134-2 at 4. She conducted phone interviews with Plaintiffs that lasted nearly two

hours in total for each Plaintiff. She used a differential diagnosis to arrive at several

diagnoses. Id. at 3 (“In my practice . . . , I utilize the method of differential diagnosis”).

Ms. Sullivan did not rely on the Plaintiffs’ previous mental health records because, as she

explained, there were none. 134-3 at 59:2–14. Bestway USA believes that Ms. Sullivan

must administer some standardized, quantitative assessments before she can arrive at any

diagnoses, though Bestway USA does not state what testing she should have done, nor

does it provide evidence that failing to conduct such testing undermines the reliability of

Ms. Sullivan’s methodology and diagnoses. The Court finds that Ms. Sullivan’s

conclusions are the result of the reliable application of her expertise to the facts of this

case and are not the result of speculation and conjecture.

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       While Bestway USA points out that Ms. Sullivan failed to include DSM-5 criteria

in her initial report to Plaintiffs’ counsel, this does not disqualify her testimony.

Whatever was in Ms. Sullivan’s draft report that was never shared with Bestway USA is

simply not relevant. The report she has produced applies her analysis of Plaintiffs’

symptoms to the diagnostic criteria provided by the DSM-5, a procedure that further

supports the finding that she used a reliable methodology to form her opinions in this

case. Bestway USA can cross-examine Ms. Sullivan regarding any post-hoc application

of the DSM-5 criteria.

       Plaintiffs have clarified that Ms. Sullivan does not intend to testify regarding the

grief Plaintiffs’ son experienced. Because Plaintiffs’ minor son is not a party to this

action, any testimony on his mental state will be excluded as irrelevant.

       The issue of whether Ms. Sullivan’s testimony should be excluded because

damages for grief and bereavement are precluded under Missouri law is a closer matter,

but ultimately the Court will permit her to testify to her conclusions. Under Mo. Rev.

Stat. § 537.090:

       [T]he trier of the facts may give to the party or parties entitled thereto such
       damages as the trier of the facts may deem fair and just for the death and loss
       thus occasioned, having regard to the pecuniary losses suffered by reason of
       the death, funeral expenses, and the reasonable value of the services,
       consortium, companionship, comfort, instruction, guidance, counsel,
       training, and support of which those on whose behalf suit may be brought
       have been deprived by reason of such death and without limiting such
       damages to those which would be sustained prior to attaining the age of
       majority by the deceased or by the person suffering any such loss. In
       addition, the trier of the facts may award such damages as the deceased may
       have suffered between the time of injury and the time of death and for the
       recovery of which the deceased might have maintained an action had death
       not ensued. The mitigating or aggravating circumstances attending the death

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       may be considered by the trier of the facts, but damages for grief and
       bereavement by reason of the death shall not be recoverable.

       On this issue, this Court’s decision in Rugh is instructive. In that case, the plaintiff

sued the defendants under the Missouri wrongful death statute after her daughter’s death

following a motor vehicle accident. Rugh, 2022 WL 17039153, at *1. The plaintiff

designated a psychiatrist to testify regarding “the effect that [plaintiff’s] daughter’s death

has had on her from a psychiatric standpoint.” Id. at *2. In his report, the plaintiff’s

expert diagnosed the plaintiff with PTSD and MDD, much like Ms. Sullivan has done in

her report regarding Plaintiffs. The expert also concluded that the plaintiff’s daughter’s

death caused her mental conditions. The defendants argued that the expert’s testimony

should be excluded because grief and bereavement damages are precluded by Mo. Rev.

Stat. § 537.090. The plaintiff argued—just as Plaintiffs do here—that the testimony was

admissible because it would help the jury to understand “the loss [plaintiff] . . . suffered

as a result of her daughter’s death, including her daughter’s companionship, comfort, and

counsel as defined from a psychiatric perspective.” Id.

       After emphasizing the court’s “great latitude in determining whether expert

testimony meets the requisites of [Fed. R. Evid.] 702,” id. at 3 (quotation marks and

citation omitted), the Court denied the motion to exclude. The Court relied on Evans v.

FirstFleet, Inc., for the contention that “[t]he physical, emotional, and psychological

relationship between a parent and child must be considered when computing the loss of

companionship, comfort, counsel, and support of a child for a parent.” Pugh, 2022 WL

17039153, at *3 (citing Evans v. FirstFleet, Inc., 345 S.W.3d 297, 305 (Mo. Ct. App.


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2011)). The Court stated that in its view, “expert psychiatric testimony describing the

effect of the injury on the parent-child relationship may be important in establishing the

nature and extent of the plaintiff’s loss.” Id. (citation omitted). The Court found that the

expert’s opinions were “relevant and admissible on the issues concerning the effect of the

injury on the parent-child relationship as well as the nature and extent of Plaintiff’s loss

of companionship, comfort, counsel, and support.” Id. Finally, the Court stated that it

would consider a limiting instruction regarding such testimony.

       Bestway USA’s attempt to distinguish Rugh is unpersuasive. First, Bestway USA

emphasizes that the Rugh decision is not binding on this Court. While that is true, its

holding remains instructive. Bestway USA also states that “[t]he expert in that case

performed an in-person mental examination that included structured, quantitative

psychological testing.” ECF No. 142 at 4. But Bestway USA provides no citation within

Rugh that supports this assertion. In fact, there is no information in Rugh indicating how

the expert conducted his analysis, so this argument carries no weight. In any event, the

Court determined above that Ms. Sullivan used an acceptable methodology. Bestway

USA further argues that Ms. Sullivan’s opinions do not address the loss of

companionship, comfort, counsel, and support and instead focus explicitly on grief and

bereavement. The Court will not take such a limited view of the overall value of Ms.

Sullivan’s opinions in assisting the jury. However, Ms. Sullivan will be required to

express her opinions within the context of the damages permitted by the statute and may

not expressly testify regarding grief or bereavement. The Court encourages Plaintiffs to

provide the parties with a proposed rephrasing of her opinions.

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        The Court agrees with the conclusion in Rugh and its application to Ms. Sullivan’s

testimony and will deny Bestway USA’s motion to exclude it. Here, Ms. Sullivan’s

testimony is relevant and admissible for the jury to assess “the reasonable value of the

services, consortium, companionship, [and] comfort” that resulted from Plaintiffs’ loss of

their daughter. These damages are specifically permitted by Mo. Rev. Stat. § 537.090

even if Ms. Sullivan’s report couches her conclusions in the context of the Plaintiffs’

grief and bereavement, which are not permitted. The Court will therefore allow Ms.

Sullivan to testimony to her conclusions at trial—but not expressed in the context of grief

and bereavement—and it will entertain an appropriate limiting instruction at the proper

time.

The Shibata Motion

        A.    Background

        Bestway USA argues that the expert report and opinions of Plaintiff’s expert

Peggy Shibata should be excluded. Ms. Shibata holds a bachelor’s degree in mechanical

engineering and master’s degrees in mechanical and biomedical engineering. ECF No.

113-2 at 1. She claims expertise in “mechanical engineering and biomechanics, with

particular expertise in accident reconstruction, rigid body dynamics, computational

modeling and analysis, human injury tolerance, and injury analyses associated with

transportation, recreational activities and equipment, and falls.” Id. According to her

expert report, Ms. Shibata’s task in this case was to “perform a safety analysis with

respect to the design of the subject pool and this incident.” ECF No. 113-1 at 4. Her

report offers fifteen (15) numbered conclusions and opinions “to a reasonable degree of

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engineering and scientific certainty.” Id. at 30–31. Relevant to Bestway USA’s motion, 2

Ms. Shibata plans to testify to the following:

       1.     According to the recorded statements, police investigation, and
              medical findings, 31-month-old [E.M.J.] was found face down in the
              subject Bestway above ground pool after apparently using the nylon
              strap and side of the pool to climb into the water.

       2.     The nylon strap and climbability of the subject pool wall resulted in
              [E.M.J.] gaining access to the pool water.

       3.     Access to filled pools by small children leading to drowning is a well-
              known hazard in the pool industry as evidenced by standards and
              guidelines related to pool barriers and publications authored by the
              safety community related to preventing child drownings.

       4.     The circumferential horizontal strap on the subject pool creates a
              foothold, reducing the vertical distance to the top of the pool, and
              making the pool wall noncompliant with the requirements for a
              conforming barrier.

       5.     The subject pool design is defective and unreasonably dangerous due
              to the climbability of the pool wall.

       6.     The instructions provided in the subject pool’s owner’s manual do not
              clearly inform the user that the pool wall is not a conforming barrier
              and that a separate conforming barrier other than the pool wall must
              be provided by the user.

       ...

       10.    Bestway (USA) failed to perform any hazard identification for the
              subject pool design, prior to, or after, the sale of the subject pool.

       11.    Bestway (USA) failed to perform any risk assessment for the subject
              pool design, prior to, or after, the sale of the subject pool.




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       The Court already granted Defendant Rural King’s Motion to Exclude Ms.
Shibita’s Opinions 7, 8, and 9. ECF No. 159.
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       12.    Bestway (USA) failed to perform any testing to identify potential
              design defects related to the climbability of the subject pool wall prior
              to, or after, the sale of the subject pool.

       13.    In the subject pool owner’s manual, Bestway (USA) failed to properly
              and explicitly instruct the Justice family and other users that since the
              nylon strap can be used as a foothold, an additional barrier to the
              subject pool is required.

       14.    Bestway (USA), through the language provided in the owner’s
              manual, gave the Justice family a false sense of security and implied
              to them that they did not need to construct an additional barrier
              surrounding the subject pool because the pool wall itself could be a
              barrier.

       15.    Bestway (USA) knew, or should have known, that the pool wall was
              not a proper barrier because of the nylon strap foothold.

ECF No. 116-1 at 30–31.

       Bestway offers several arguments why Ms. Shibata’s opinions should be excluded,

including that they are “not based on sufficient facts or data, . . . do not have a reliable

basis in accepted principles and methods, nor has she applied those principals to the

specific facts of this case, . . . and would not serve to help the jury reach a decision in this

matter.” ECF No. 116 at 4.

       Bestway USA suggests that Ms. Shibata’s conclusions cannot be admitted because

they are based on mere speculation. Bestway USA supports its position by pointing to

various portions of Ms. Shibata’s deposition testimony where she states that she did not

inspect or take measurements at the scene of the accident, did not make a specific

assessment of E.M.J.’s specific capabilities, did not assess studies regarding the abilities

of children the same age as E.M.J. to climb barriers, and did not construct an exemplar

barrier on which to conduct her own analysis. Much of the remainder of Bestway USA’s

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argument hinges on its interpretation of whether the nylon strap on the pool could act as a

foothold. Bestway USA asserts that any foothold must be at least 0.4” wide and anything

less cannot be considered a foothold. Bestway USA states that Ms. Shibata did not take

any measurements of the nylon strap near where E.M.J. allegedly entered the pool, so she

cannot reasonably conclude that the nylon strap acted as a foothold. Bestway USA cites

to various Missouri state court cases regarding the admissibility of expert testimony, but

it does not explain why those are relevant to the admissibility of experts in this case,

which is governed by the Federal Rules of Evidence. At bottom, Bestway USA argues

that Ms. Shibata’s conclusions are nothing more than an uncritical confirmation of the

conclusions from the Warren County Sheriff’s Report prepared by Detective Doerr,

which found that E.M.J. entered the pool by using the pool’s nylon support strap as a

foothold.

       Bestway USA also argues that Ms. Shibata’s testimony should be excluded

because it is not the product of a reliable application of principles or methods to the facts.

Much of this argument is a restatement of Bestway USA’s previous argument. Bestway

USA takes issue with Ms. Shibata’s conclusions because she did not conduct any testing

on a pool of the same size and with the same nylon strap as the pool at issue here.

Bestway USA also argues that Ms. Shibata’s conclusions about E.M.J.’s climbing

abilities is incorrectly based on saferproducts.gov reports of other children who were able

to climb similarly designed pools and are not based on Ms. Shibata’s knowledge

regarding E.M.J.’s climbing abilities. Bestway USA contends that Ms. Shibata’s



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conclusions are therefore not the result of reliable principles and methods applied to these

facts.

         As to its argument that Ms. Shibata’s opinions should be excluded because they

will not be helpful to the jury, Bestway USA again relies on arguments that Ms. Shibata

did not arrive at her opinions through a reliable analysis of the evidence. This time,

however, Bestway USA also attacks Ms. Shibata’s conclusions regarding the adequacy of

the pool’s warnings. Bestway USA cites to Ms. Shibata’s deposition testimony where

she appears to agree that a consumer reading both the warning in the pool’s manual and

the government created guidelines regarding above-ground pool safety would be

informed that additional safety precautions, including construction of an additional

barrier around the pool, were necessary to ensure that the pool was safe. Bestway USA

argues that the jury need not hear Ms. Shibata’s conclusions on this issue because the jury

could read the pool’s warnings and the documents the warnings reference and come to its

own conclusions about what a consumer would understand.

         Plaintiffs argue that Bestway USA has failed to establish that Ms. Shibata’s

opinions should be excluded. In support of the reliability of Ms. Shibata’s opinions,

Plaintiffs begin by describing Ms. Shibata’s qualifications and then summarizing the

evidence she relied on in her report. Plaintiffs attack Bestway USA’s list of things that

Ms. Shibata failed to do as simply unnecessary steps that were not required in this case.

ECF No. 137 at 5 (“The scientific method does not require a scientist to gather and rely

on unnecessary information when reaching a conclusion.”). As to the measurement of

the gap between the pool wall and the nylon strap and whether it constitutes a foothold,

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Plaintiffs argue that Ms. Shibata relied on photographs of the pool and the support strap

to determine that at certain places along the pool wall there was a gap of about two (2)

inches between the pool wall and the nylon strap. Plaintiffs also argue that, regardless of

whether Ms. Shibata concluded that the nylon band created a foothold of 0.4” or more,

there is no evidence that a foothold of such a size was required for E.M.J. to enter the

pool using the strap. Plaintiffs emphasize that Ms. Shibata relied on E.M.J.’s medical

records that included her height and weight to assess whether she was physically capable

of climbing the pool wall using the nylon support strap as a foothold.

       Plaintiffs respond to Bestway USA’s suggestion that Ms. Shibata did not reliably

apply the facts to her methodology by stating again that Ms. Shibata is under no

requirement to recreate the scene and test whether children of E.M.J.’s age could climb

the pool wall. Plaintiffs argue that such a study is not necessary for Ms. Shibata to form

her conclusions and is not required for her conclusions to be reliable.

       Plaintiffs also argue that Ms. Shibata’s testimony will be helpful to the jury.

Plaintiffs contend that Bestway USA merely attacks the reliability of Ms. Shibata’s

opinions rather than their relevance. Plaintiffs state that Ms. Shibata’s conclusions are

helpful because Ms. Shibata is an expert with the experience necessary to determine how

E.M.J. was able to enter the pool. Plaintiffs also argue that Ms. Shibata’s alleged

admission that a consumer reading the pool’s warnings and the referenced standards does

not undermine her opinion regarding the inadequacy of the pool’s warnings. In support,

Plaintiff’s cite to Brown v. Bay State Abrasives, 821 S.W.2d 531, 534 (Mo. Ct. App.

1991) where the Missouri Court of Appeals found that it was improper to admit expert

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testimony about the adequacy of warnings contained in the ANSI standards because

consumers should not be expected to read standards referenced within a manufacturer-

issued warning. Plaintiffs assert that Ms. Shibata’s opinion that the pool’s warning was

not sufficient will be helpful to the jury to decide the issue of whether the warning was

adequate.

       Bestway USA, in its reply, argues that Ms. Shibata’s report and testimony should

be excluded because: (1) the only basis of her opinions is the Warren County Sheriff’s

Report, which it argues is hearsay; (2) the issue of whether the nylon strap constitutes a

foothold is a “red herring” because Ms. Shibata does not opine that a “foothold” was used

to gain access to the pool and therefore her testimony cannot support Plaintiffs’ theory of

causation; and (3) Ms. Shibata’s testimony about the adequacy of the pool’s warnings is

irrelevant because Plaintiffs and Plaintiffs’ family testified that they knew that an

additional barrier was needed to make the pool safe, and therefore the pool’s warnings

could not have misled them into believing one was not necessary.

       B.     Analysis

       As an initial matter, because the Court has granted summary judgment for

Bestway USA as to Plaintiffs’ negligence claims, some of Ms. Shibata’s opinions are no

longer relevant. ECF No. 157. In particular, opinions relating to Bestway USA’s duty

and breach are no longer at issue. Ms. Shibata’s Opinions 3, 10, 11, 12, and 15 relate

directly to the issue of Bestway USA’s alleged duty or knowledge of the pool’s potential

dangers. Because Plaintiffs will no longer need to establish these elements of negligence,

these opinions will no longer be helpful to the jury and could mislead the jury as to

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Bestway USA’s duties. For these reasons, Ms. Shibata’s Opinions 3, 10, 11, 12, and 15

will be excluded.

       Opinion 1 is inadmissible because it is a simple statement of fact that does not

require expert testimony. See Lee v. Andersen, 616 F.3d 803, 809 (8th Cir. 2010) (“If the

subject matter [of the expert’s testimony] is within the jury’s knowledge or experience,

. . . the expert testimony remains subject to exclusion because the testimony does not then

meet the helpfulness criterion of Rule 702.”) (internal quotations and citation omitted).

Testimony from witnesses at the scene and the conclusions in the Warren County

Sheriff’s Report can establish the facts included in Ms. Shibata’s Opinion 1 without her

testimony. 3 While Ms. Shibata may testify regarding her reliance on those statements

and perhaps the conclusions in the Report in forming her conclusions, she cannot testify

to them in the form of opinion. The Court will therefore exclude Ms. Shibata’s Opinion

1.

       Plaintiffs have failed to establish by the preponderance of the evidence that Ms.

Shibata’s Opinion 2—that the nylon strap and the climability of the pool wall resulted in

E.M.J. gaining access to the pool—is based on sufficient facts and data and is the result

of a reliable application of a methodology. Ms. Shibata is an expert in engineering,

biomechanics, product safety, and accident reconstruction, among other topics related to

human factors. To form this opinion, Ms. Shibata appears to have relied on the testimony


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       The Court has not been called upon to rule on the extent to which the Sheriff’s
Department’s conclusions will be permitted and expresses no opinion at this time
regarding the admissibility of witness testimony or Bestway USA’s arguments that the
Warren County Sheriff’s Report is inadmissible hearsay.
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of other witnesses, the police and incident reports following E.M.J.’s death, E.M.J.’s

medical records, and reports from saferproducts.gov indicating other instances of toddlers

climbing into or attempting to climb into other similarly designed pools. She did not

testify that these are the types of facts and data she would generally rely upon to form

opinions about biomechanics, engineering, product safety, accident reconstruction, or

human factors analysis. While she states that she “employed the scientific method as a

framework” (ECF No. 116-1 at 4), Plaintiffs have not come forward with any other

evidence of how Ms. Shibata applied the scientific method to the issues of this case. She

admitted at deposition to not consulting any scientific studies regarding the climbing

abilities of children or conducting any testing of the abilities of children of a similar size

and age to E.M.J. ECF No. 116-2 at 46:15–47:18. She further admits that her opinion

regarding E.M.J.’s ability to climb the pool is based on her “general understanding of the

capabilities of children” informed by her past experiences working with children, though

she further admits that her past experiences did not include looking at the same type of

barrier, the same height of barrier, or the same age of children. Id. at 47:19–48:25. Ms.

Shibata failed to explain at deposition or in her report how her general understanding of

children’s abilities could be applied to the specific facts of this case. “An expert’s

opinion is subject to being rejected if it is substantially based upon the expert’s subjective

belief or unsupported speculation.” Wine v. Comer, 590 F. Supp. 3d 1200, 1205 (E.D.

Mo. 2022) (citation omitted). “A court is not required ‘to admit opinion evidence that is

connected to existing data only by the ipse dixit of the expert.’” Id. (quoting Gen. Elec.

Co. v. Joiner, 522 U.S. 136, 146 (1997)).

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        Here, Ms. Shibita evaluated E.M.J.’s climbing abilities using only her intuitive

understanding of children’s general climbing abilities, and she has been unable to identify

a scientific methodology she used to arrive at her conclusion. The Court finds that this

opinion is not based on sufficient facts or data nor was it arrived at through the use of a

reliable methodology applied to the facts, and it will therefore be excluded.

        Opinion 5 is admissible. Ms. Shibata has an expertise in engineering and is

offering her engineering opinion regarding the safety of the pool’s design. She is also an

expert in product safety generally and can testify using this experience that this pool’s

design, specifically as it relates to the nylon support strap, is unreasonably dangerous.

Ms. Shibata reviewed relevant safety standards regarding above-ground pools and has

concluded that the nylon support strap makes the pool’s wall climbable and therefore

ineffective as the sole barrier preventing young children from entering the pool. The

Court will permit Ms. Shibata to testify to Opinion 5.

        The only remaining opinions then are Opinions 4, 6, 13, and 14. Opinion 4

pertains to whether the nylon strap constitutes a foothold and therefore makes the pool

wall a non-conforming barrier. Opinions 6 and 13 are substantially the same in that they

both state that the pool’s owner’s manual failed to inform consumers that the pool wall

included a foothold via the nylon support strap, thus making it a non-conforming barrier

and requiring the consumer to construct an additional barrier around the pool to make it

safe.

        Plaintiffs have met their burden to establish that that Opinions 4, 6, and 13 are

admissible. Ms. Shibata has extensive experience in the field of product safety analysis.

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As stated above, in assessing whether the pool’s wall was a conforming barrier or

whether the nylon support strap created a foothold, Ms. Shibata read several sets of pool

safety standards and determined that the measurements of the pool and pictures of the

nylon support strap indicate that the nylon support strap was a foothold and therefore the

pool’s wall was not a conforming barrier. Her assessment of these standards and her

application of those standards to the facts and data of this case appear reliable and well

within her area of expertise.

       But Opinion 14 that the pool’s warnings gave Plaintiff’s a “false sense of security

and implied to them that they did not need to construct an additional barrier” will be

excluded because it is directly contradicted by other testimony. Ms. Shibata, during her

deposition, was confronted with Mr. Justice’s deposition testimony where he testified that

he and Mr. Flake had discussed putting an additional fence around the pool. ECF No.

116-2 at 138:22–140:14. She admits that she had previously reviewed this testimony and

that Mr. Justice, in this testimony, described a desire to put an additional barrier around

the pool. Ms. Shibata does not explain how she could have reliably arrived at her

conclusion that Mr. Justice had a “false sense of security . . . they that did not need to

construct an additional barrier” when he testified to his intention to construct such a

barrier. Additionally, there is no evidence in the record that Mr. Justice or the Flakes

read the pool’s warnings. Without having read the pool’s warnings, Ms. Shibata cannot

reliably say that the warnings gave Plaintiffs or the Flakes a “false sense of security.”

Because record evidence directly contradicts Ms. Shibata’s conclusion regarding the

pool’s warnings in Opinion 14, it is unreliable and will be excluded.

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       In sum, Ms. Shibata’s Opinions 1, 2, 3, 10, 11, 12, 14, and 15 will be excluded,

and she will be permitted to testify to Opinions 4, 5, 6, and 13.

The Fletemeyer Motion

       A.     Background

       Bestway USA has moved to exclude the report and testimony of Plaintiffs’

drowning expert, Dr. John Fletemeyer. Dr. Fletemeyer has a bachelor’s degree in

anthropology and physical education from Ball State University. He holds unspecified

post-graduate degrees from the University of Wisconsin and the University of Cape

Town in South Africa. He has a doctoral degree from Florida International University

with an emphasis on coastal science and education. Dr. Fletemeyer has “been

continuously involved in aquatics for the past 50 years and [has] several professional

certifications” related to lifeguarding, first aid, and water rescue. He is currently the

executive director of the Aquatic Law Institute and the Aquatic Law Symposium

Program. ECF No. 117-1 at 1.

       Dr. Fletemeyer offers the following opinions:

       [1.] 4 The fatal drowning of [E.M.J.] was preventable.

       [2.] The proximate cause of this fatal drowning was the nylon support strap
       surrounding the pool’s perimeter. Being only 14.5 inches from the ground,
       it conveniently provided [E.M.J.] with a foot hold allowing her to climb over
       the pool’s edge and into the water[.]




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       While Dr. Fletemeyer sets out his opinions in separate paragraphs, these
paragraphs were not numbered. The Court has numbered Dr. Fletemeyer’s opinions for
the sake of its analysis and discussion.
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       [3.] If not for the nylon strap, a toddler of [E.M.J.]’s size and age wouldn’t
       have been able to gain access into the pool and drown.

       Considering that Kyle Justice, the father of the victim, had earlier removed
       the ladder from the pool, this was the only possible way the victim entered
       the pool.

       [4.] Detective Jeff Doerr observed a child’s footprint near the nylon strap.
       He concluded that the footprint likely belonged to [E.M.J.] and that the nylon
       strap was how she managed to get into the pool.

       [5.] Without the ladder and without the nylon strap.[sic] It would not have
       been possible for [E.M.J.] to climb over the edge of the pool and drown.

       Consequently, any allegation by the defense that the victim entered the pool
       differently is not supported by the facts.

       [6.] The nylon support strap circling the pool represents a serious design flaw
       responsible for making the pool inherently dangerous especially to young
       children the victim’s age.

       [7.] The fact that there has [sic] been similar fatal drownings and near
       drownings prior to this one where children used the nylon strap as a foot
       support, this indicates a wanton and conscious disregard for the safety of this
       product by its manufacturer.

       [8.] There are none of the contributing events mentioned earlier in this report
       that would indicate that this was a passive drowning event. As such, my
       opinion is that this was an active drowning and consequently, [E.M.J.]
       experience [sic] horrific pain and suffering before becoming unconscious,
       progressing from clinical death to biological death.

       [9.] Mr. Kyle Justice, the father, states in his deposition . . . that earlier he
       had removed the ladder from the pool. Consequently, he reasonably believed
       that the pool was safe.

ECF No. 117-1 at 4–5.

       Bestway USA argues that Dr. Fletemeyer’s opinions should be excluded because

they are not based on sufficient facts or data, are not the result of a reliable application of

a methodology to the facts, and would not help the jury. Bestway USA states that Dr.


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Fletemeyer failed to personally conduct an investigation into the scene of the drowning,

and therefore does not base his opinions on sufficient facts or data. Bestway USA argues

that because Dr. Fletemeyer did not conduct an independent investigation of the scene

and had no knowledge of E.M.J.’s height or weight, he also cannot reliably exclude other

potential ways that E.M.J. may have entered the pool. Bestway USA further attacks Dr.

Fletemeyer’s opinions for relying on the alleged hearsay contained within the Warren

County Sheriff’s Report. Additionally, Bestway USA contends that because Dr.

Fletemeyer was simply asked to assume that there were previous reports about similar

drownings and is not personally aware of these reports, his opinions regarding the

manufacturer’s knowledge of the pool’s potential dangers is unsupported by the evidence.

Bestway USA again relies on findings from Missouri state courts regarding the

admissibility of expert testimony but does not explain why those decisions are applicable

to this case.

       Bestway USA further states that Dr. Fletemeyer did not arrive at his conclusions

through the use of a reliable methodology. Specifically, Bestway USA argues that Dr.

Fletemeyer’s own book, which he relied on in forming his conclusions here, states that

the “overwhelming proximate cause of minor drownings are due to the lack of adult

supervision,” (ECF No. 117 at 11) yet Dr. Fletemeyer discounts this explanation as the

cause of E.M.J.’s drowning in this case. Bestway USA points to Dr. Fletemeyer’s

testimony where he admits that E.M.J.’s drowning would have been prevented if she was

being adequately supervised by an adult.



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       Bestway USA contends that Dr. Fletemeyer’s opinions will not be helpful to the

jury, but its arguments go instead to whether Dr. Fletemeyer is qualified to offer opinions

about the pool’s design and not to the relevance of his opinions. Bestway USA asserts

that Dr. Fletemeyer has no engineering expertise or legal training and therefore cannot

offer opinions on whether the pool was defectively designed.

       Plaintiffs argue that Dr. Fletemeyer is qualified to offer opinions regarding the

design of the pool, that he did not need to perform his own investigation of the incident to

arrive at his conclusions, and that his opinion regarding proximate cause is the result of a

reliable application of his methodology to the facts of the case. Plaintiffs rely on Dr.

Fletemeyer’s education and experience to support its argument that he is qualified to

testify to his opinions, including his opinions regarding the design of the pool and the

proximate cause of E.M.J.’s drowning. Plaintiffs further contend that Dr. Fletemeyer’s

opinions do not require that he be an engineer or a legal expert. Plaintiffs assert that Dr.

Fletemeyer’s opinions are supported by competent evidence such as the “pool’s

measurements, [E.M.J.]’s weight and height, and the existence of prior incidents

involving similar pools and children of similar age.” ECF No. 136 at 9.

       As to whether Dr. Fletemeyer arrived at his opinion through a reliable application

of a methodology to the case facts, Plaintiffs argue that his causation opinion is not

undermined by his admission that the lack of adult supervision was a contributing cause

of E.M.J.’s death because “[t]here can be more than one proximate cause of an injury.”

Id. at 10 (citing Mengwasser v. Anthony Kempler Trucking, Inc., 312 S.W.3d 368, 373



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(Mo. Ct. App. 2010)). Plaintiffs argue that any issues with Dr. Fletemeyer’s causation

opinion are matters for cross-examination and do not justify exclusion.

       Finally, Plaintiffs argue that Bestway USA has not established that Dr.

Fletemeyer’s testimony will not be helpful to a jury because Bestway USA has not

attacked the relevance of the opinions. Plaintiffs highlight Dr. Fletemeyer’s long-held

expertise as an aquatic safety expert to support their argument that his opinions regarding

how E.M.J. accessed the pool are beyond the knowledge of the average lay juror.

       In its reply, Bestway USA reiterates its arguments that it raised in the Fletemeyer

Motion. Bestway USA again argues that Dr. Fletemeyer’s admitted lack of expertise in

engineering or design precludes him from testifying to the adequacy of the pool’s design.

Bestway USA also points to the lack of evidence in the record of similar drownings in

Bestway designed and manufactured pools to support its argument that Dr. Fletemeyer’s

opinions regarding Bestway USA’s alleged wanton and conscious disregard for E.M.J.’s

safety is unsupported by the evidence. Bestway USA finally argues that Dr. Fletemeyer

is not an attorney and cannot therefore offer legal conclusions regarding the proximate

cause of E.M.J.’s death.

       B.     Analysis

       As an initial matter, Dr. Fletemeyer’s Opinion 7, that the pool’s manufacturer

acted with wanton and conscious disregard for the safety of the pool, will be excluded

because it is no longer relevant to the issues in this case. As stated above, the Court has

already granted summary judgment in favor on Bestway USA on the issue of Bestway

USA’s alleged negligence and as to punitive damages. Because this opinion relates

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specifically to the issue of Bestway USA’s knowledge of the pool’s danger—and thus to

punitive damages—it will be excluded.

       Opinion 1 will be excluded because it is simply not helpful to the jury. While it is

likely true that this tragic drowning was preventable, nothing about this opinion will help

the jury to decide an issue in this case. This opinion will therefore be excluded.

       Dr. Fletemeyer’s Opinions 2 and 6 will be excluded. In Opinion 2, Dr. Fletemeyer

intends to testify that the pool’s nylon support strap was the “proximate cause” of

E.M.J.’s death. Similarly, in Opinion 6, Dr. Fletemeyer intends to testify that the

inclusion of the nylon support strap in the pool’s design renders the design defective. Dr.

Fletemeyer is an expert in drowning, not pool design or human factors. He has no

expertise that permits him to form opinions regarding the design of the pool or the ability

of E.M.J. to enter the pool via the nylon support strap.

       Additionally, Opinion 6 can also be excluded because it is unnecessarily

cumulative. See Fed. R. Evid. 403 (“The court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of . . . needlessly presenting

cumulative evidence.”) Ms. Shibata, an engineering and product safety expert, intends to

testify regarding the pool’s design and the nylon support strap and its potential as a

foothold. Having Dr. Fletemeyer provide essentially the same testimony would be

unnecessarily cumulative, especially given that he lacks the necessary expertise to render

such an opinion. For these reasons, the Court will grant Bestway USA’s motion as to Dr.

Fletemeyer’s Opinions 2 and 6.



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       Opinions 3 and 5 are essentially the same opinions and will both be excluded

because they are outside of the realm of Dr. Fletemeyer’s expertise. In them, Dr.

Fletemeyer has concluded that the pool’s nylon support strap acted as a foothold by

which E.M.J. was able to access the pool, and that this was the only way E.M.J. could

have accessed the pool while the ladder was removed. As already stated, Dr. Fletemeyer

does not have any special training or experience related to accident reconstruction or

human factors that would permit him to arrive at this conclusion. It appears that Dr.

Fletemeyer arrived at these conclusions by simple inference based on the Warren County

Sheriff’s Report and Mr. Justice’s deposition testimony. Such testimony will not be

helpful to the jury because the jury could also make the same inference when confronted

with the Report and Mr. Justice’s testimony. Because Dr. Fletemeyer is not qualified to

testify regarding what constitutes a foothold in this case or whether E.M.J. was physically

capable of climbing the pool wall, he will not be permitted to offer this testimony at trial.

       Opinion 4 will be excluded because it is not an opinion but is instead a statement

of facts that can be established by other means. Again, what is contained the Warren

County Sheriff’s Report and the opinion of Detective Doerr is not a matter for opinion

testimony. For this reason, Dr. Fletemeyer’s Opinion 4 will be excluded.

       Opinion 9 will be excluded for two separate reasons. First, like Opinion 4, the

first sentence of Opinion 9 regarding what Mr. Justice testified to will be excluded

because it is simply a statement of fact that requires no expert opinion. Second, whether

Mr. Justice believed the pool was safe after removing the pool’s ladder is not relevant to

the remaining issue in this case. Only two of Plaintiffs’ claims remain against Bestway

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USA: strict liability design defect and strict liability failure to warn. Mr. Justice’s

subjective belief regarding the pool’s safety after he removed the ladder is not relevant to

either of these claims and will not help the jury to decide any remaining issues. For these

reasons, the Court will exclude Dr. Fletemeyer from testifying to his Opinion 9.

       Plaintiffs have established by the preponderance of the evidence the relevance and

reliability of Dr. Fletemeyer’s Opinion 8, so the Court will deny Bestway USA’s Motion

as to this opinion. Dr. Fletemeyer is qualified through his extensive experience to testify

regarding drowning events and the physiological process of drowning. Dr. Fletemeyer

arrived at his conclusion through analysis of the drowning event and by consulting his

previous, extensive study of the drowning process, a field in which he has published

extensively. This opinion is well within Dr. Fletemeyer’s expertise and will help the jury

to assess potential damages.

       The Court will therefore permit Dr. Fletemeyer to testify to Opinion 8, but it will

exclude Dr. Fletemeyer’s testimony as to all other opinions expressed in his expert report

for the reasons outlined above.




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                                           Conclusion

       Accordingly,

       IT IS HEREBY ORDERED that Defendant Bestway USA’s motion to exclude

the expert report, testimony, and opinions of Dianna Sullivan is DENIED, as qualified

herein. ECF No. 115.

       IT IS FURTHER ORDERED that Defendant Bestway USA’s motion to exclude

the expert report, testimony, and opinions of Peggy Shibata is GRANTED in part and

DENIED in part. ECF No. 116. Ms. Shibata’s Opinions 1, 2, 3, 10, 11, 12, 14, and 15,

as expressed in her expert report, will be excluded. Ms. Shibata will be permitted to

testify to her Opinions 4, 5, 6, and 13.

       IT IS FURTHER ORDERED that Defendant Bestway USA’s motion to exclude

the expert report, testimony, and opinions of Dr. John Fletemeyer, PhD, will be

GRANTED in part and DENIED in part. ECF No. 117. Dr. Fletemeyer’s Opinions 1,

2, 3, 4, 5, 6, 7, and 9, as expressed in his expert report, will be excluded. Dr. Fletemeyer

will be permitted to testify to his Opinion 8.

       Dated this 30th day of December, 2024.



                                                 AUDREY G. FLEISSIG
                                                 UNITED STATES DISTRICT JUDGE




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